
968 A.2d 1053 (2009)
408 Md. 129
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Cynthia JORDAN, Respondent.
Misc. Docket AG No. 62, September Term, 2008.
Court of Appeals of Maryland.
April 6, 2009.

ORDER
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, Cynthia Jordan, Esquire to suspend the Respondent from the practice of law for thirty days.
The Court having considered this Petition, it is this 6th day of April, 2009.
ORDERED by the Court of Appeals of Maryland, a majority of the Court concurring, that Respondent, Cynthia Jordan, be and she is hereby suspended from the practice of law in the State of Maryland for thirty days.
ORDERED, that the Clerk of this Court shall remove the name of Cynthia Jordan from the register of attorneys in the Court and certify that fact to the Client Protection Fund of the Bar of Maryland and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-773(d).
